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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                     No. 2:02-cr-00213-MCE-CMK

12                  Respondent,

13          vs.                                    ORDER

14   MIGUEL HERNANDEZ-MUNGUIA,

15                  Movant.

16                                           /

17                  Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. The matter was referred to a United

19   States Magistrate Judge pursuant to Eastern District of California local rules.

20                  On December 29, 2008, the Magistrate Judge filed findings and recommendations

21   herein which were served on the parties and which contained notice that the parties may file

22   objections within a specified time. Timely objections to the findings and recommendations have

23   been filed.

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 1                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 72-

 2   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

 3   file, the court finds the findings and recommendations to be supported by the record and by

 4   proper analysis.

 5                  Accordingly, IT IS HEREBY ORDERED that:

 6                  1.        The findings and recommendations filed December 29, 2008, are adopted

 7   in full;

 8                  2.        Movant’s motion pursuant to 28 U.S.C. § 2255 (Doc. 330 in the criminal

 9   docket) is denied; and

10                  3.        The Clerk of the Court is directed to close companion civil case no. CIV

11   S-07-2724-MCE-CMK.

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      Dated: February 11, 2009
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14                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
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